                     Case 2:07-cr-00201-KJM Document 101 Filed 12/16/09 Page 1 of 2
AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

         UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                    v.                                                     (For Revocation of Probation or Supervised Release)
                                                                           (For Offenses committed on or after November 1, 1987)
         NORMAN CURTIS GRESHAM III
                      (Defendant’s Name)                                   Criminal Number: 2:07CR00201-02


                                                                           Chris Hadyn-Myer, Appointed
                                                                           Defendant’s Attorney

THE DEFENDANT:
[U] admitted guilt to violation of charge 1 and 2 as alleged in the violation petition filed on November 12, 2009 .
[]  was found in violation of condition(s) of supervision as to charge(s) after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):
Violation Number                     Nature of Violation                                      Date Violation Occurred
1                                    New Law Violation                                        08/26/2009
2                                    Use of Controlled Substance                              10/29/2009



The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on June 16, 2008 .

       The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       Charge(s)        is/are dismissed.


         Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid.

                                                                 December 7, 2009
                                                                 Date of Imposition of Sentence




                                                                 Signature of Judicial Officer

                                                                 FRANK C. DAMRELL, JR., United States District Judge
                                                                 Name & Title of Judicial Officer

                                                                 December 16, 2009
                                                                 Date
                    Case 2:07-cr-00201-KJM Document 101 Filed 12/16/09 Page 2 of 2
AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               2:07CR00201-02                                                                Judgment - Page 2 of 2
DEFENDANT:                 NORMAN CURTIS GRESHAM III


                                                        IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term
of 11 months .




[]       The court makes the following recommendations to the Bureau of Prisons:



[U]      The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before           on        .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
